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                                   2                                  UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4
                                        EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR
                                   5

                                   6           Plaintiff and Counter-Defendant,             ORDER TO SHOW CAUSE
                                                                                            REGARDING THE ENFORCEMENT OF
                                   7                            v.                          THE INJUNCTION
                                   8
                                        APPLE INC.,
                                   9
                                               Defendant and Counterclaimant.
                                  10

                                  11           TO ALL PARTIES AND COUNSEL OF RECORD:

                                  12           The Court is in receipt of Epic Games, Inc.’s Motion to Enforce the Injunction. The Court
Northern District of California
 United States District Court




                                  13   thus issues this Order to Show Cause as to why the motion should not be granted. Briefing shall

                                  14   occur on the schedule listed below and shall include the legal authority upon which Apple

                                  15   contends that it can ignore this Court’s order having not received a stay from the Ninth Circuit

                                  16   Court of Appeal even though its request was filed twelve days ago on May 7, 2025. Obviously,

                                  17   Apple is fully capable of resolving this issue without further briefing or a hearing. However, if the

                                  18   parties do not file a joint notice that this issue is resolved, and this Court’s intervention is required,

                                  19   the Apple official who is personally responsible for ensuring compliance shall personally appear at

                                  20   the hearing hereby set for Tuesday, May 27, 2025 at 9:00 a.m. in the United States District Court,

                                  21   Northern District of California, Oakland, California, Courtroom One.

                                  22           Accordingly, any opposition brief shall be filed by Wednesday, May 21, 2025, 5:00 p.m.

                                  23   Pacific and shall identify by name the Apple official, referenced above, who shall be fully

                                  24   prepared to answer any questions on the topic. Any reply brief shall be filed by Friday, May 23,

                                  25   2025, 10:00 a.m. Pacific.

                                  26           IT IS SO ORDERED.

                                  27   Dated: May 19, 2025
                                                                                                   YVONNE GONZALEZ ROGERS
                                  28                                                              UNITED STATES DISTRICT JUDGE
